Case 3:17-cv-00072-NKM-JCH Document 929-2 Filed 03/05/21 Page 1 of 3 Pageid#:
                                 15964




                    EXHIBIT A
                             Case 3:17-cv-00072-NKM-JCH Document 929-2 Filed 03/05/21 Page 2 of 3 Pageid#:
                                                              15965

DATE               PERSON               DESCRIPTION                                                            HOURS          RATE         TOTAL

       2/17/2020   Katherine Cheng      Conduct factual research regading bases for Ray motion to compel                4.3   $   275.00   $   1,182.50
       2/21/2020   Katherine Cheng      Begin to draft Ray motion to compel                                             0.8   $   275.00   $     220.00
       2/23/2020   Katherine Cheng      Continue to research and draft Ray motion to compel                             5.4   $   275.00   $   1,485.00
       2/24/2020   Katherine Cheng      Continue to draft and revise Ray motion to compel                               2.2   $   275.00   $     605.00
                                        Revise Ray motion to compel in accordance with J. Phillips edits;
       2/26/2020 Katherine Cheng        correspond with iDS regarding Ray devices                                        1 $      275.00   $       275.00
                                        Further revise Ray motion to compel in light of J. Phillips edits;
       2/28/2020 Katherine Cheng        coordinate exhibits for Ray motion to compel                                    0.6 $     275.00   $       165.00
                                        Conduct additional research for Ray motion to compel and revise the
       2/29/2020 Katherine Cheng        same in accordance with J. Phillips edits                                       1.9 $     275.00   $       522.50
        3/1/2020 Katherine Cheng        Revise and circulate Ray motion to compel                                       0.5 $     275.00   $       137.50
                                        Revise Ray motion to compel in accordance with J. Phillips edits;
                                        correspond with iDS regarding processing and production of Ray
        3/2/2020 Katherine Cheng        devices                                                                         0.5 $     275.00   $       137.50
        3/8/2020 Katherine Cheng        Revise and incorporate further edits to Ray motion to compel                    0.5 $     275.00   $       137.50
                                        Incorporate additional edits and comments for Ray motion to
                                        compel; draft sealing papers in connection with the same; coordinate
        3/9/2020 Katherine Cheng        exhibits and redactions for the same                                            3.8 $     275.00   $   1,045.00
                                        Draft high-level summary points of Ray motion to compel for J.
       3/10/2020 Katherine Cheng        Phillips; coordinate finalizing Ray motion to compel                            0.4 $     275.00   $       110.00
                                        Assist in finalizing and filing Ray motion to compel and sealing
    3/11/2020 Katherine Cheng           papers                                                                          0.8 $     275.00   $     220.00
SUBTOTAL                                                                                                               22.7 $     275.00   $   6,242.50
                                        Attention to R. Ray motion to compel, including cite-checking
        3/5/2020 Yotam Barkai           motion to compel.                                                               0.6 $     275.00   $       165.00
        3/6/2020 Yotam Barkai           Attention to R. Ray motions to compel discovery.                                0.3 $     275.00   $        82.50
        3/7/2020 Yotam Barkai           Review cite-checked motion to compel discovery from Ray                         0.4 $     275.00   $       110.00
                                        Attention to motion to compel discovery from R. Ray and exhibits to
                                        motion to compel; cite-check motion to compel discovery from R.
        3/8/2020 Yotam Barkai           Ray                                                                             1.3 $     275.00   $       357.50
        3/9/2020 Yotam Barkai           Attention to motion to compel discovery from R. Ray                             0.5 $     275.00   $       137.50
       3/10/2020 Yotam Barkai           Attention to motion to compel discovery from R. Ray.                            0.9 $     275.00   $       247.50
                                        Attention to motion to compel discovery from R. Ray; finalize
                                        motion to compel discovery from NSM; finalize exhibits; file
                                        motions to compel against R. Ray; serve motion to compel discovery
                                        and motion to seal on Defendants; correspond with Court regarding
       3/11/2020 Yotam Barkai           motion to seal and exhibits.                                                    1.3 $     275.00   $       357.50
                              Case 3:17-cv-00072-NKM-JCH Document 929-2 Filed 03/05/21 Page 3 of 3 Pageid#:
                                                               15966


                                         Attention to motion to seal and exhibits in support of R. Ray motion
      3/20/2020 Yotam Barkai             to compel discovery; reproduce exhibits in support of motion to seal.     0.4 $     275.00   $     110.00

    4/14/2020   Yotam Barkai             Attention to exhibits to motion to compel discovery from R. Ray           0.1   $   275.00   $       27.50
SUBTOTAL                                                                                                           5.8   $   275.00   $    1,595.00
    2/18/2020   Jessica Phillips         Attention to Ray motion to compel                                         0.5   $   450.00   $      225.00
    2/26/2020   Jessica Phillips         Edited Ray motion to compel                                                 2   $   450.00   $      900.00
    2/28/2020   Jessica Phillips         Edited Ray motion to compel; circulated same to K. Cheng                  0.8   $   450.00   $      360.00
                                         Reviewed and edited revised motion to compel Ray; circulated same
      2/29/2020 Jessica Phillips         to K. Cheng                                                               0.9 $     450.00   $     405.00
       3/1/2020 Jessica Phillips         Attention to Ray motion                                                   0.2 $     450.00   $      90.00
       3/3/2020 Jessica Phillips         Reviewed updated Ray motion to compel                                     0.7 $     450.00   $     315.00
                                         Reviewed M. Bloch edits to Ray motion to compel; review revised
     3/8/2020   Jessica Phillips         Ray motion to compel                                                      0.5   $   450.00   $      225.00
     3/9/2020   Jessica Phillips         Attention to Ray motion to compel                                         0.3   $   450.00   $      135.00
    3/10/2020   Jessica Phillips         Finalized Ray motion                                                      0.8   $   450.00   $      360.00
    3/11/2020   Jessica Phillips         Attention to finalizing Ray motion                                        0.5   $   450.00   $      225.00
SUBTOTAL                                                                                                           7.2   $   450.00   $    3,240.00
    2/28/2020   Josh Hasler              Organized exhibits to the Ray Motion to Compel Discovery                  1.2   $   100.00   $      120.00

       3/6/2020 Josh Hasler              Worked on the exhibits to the Ray Motion to Compel Discovery              0.2 $     100.00   $      20.00
                                         Filing assistance related to Motion to Compel Discovery from Ray.
                                         Tasks included: preparing final copies of public and sealed version
                                         exhibits and briefs, proofreading briefs, and providing other support
       3/9/2020 Josh Hasler              as needed                                                                 3.9 $     100.00   $     390.00
                                         Prepared public/redacted and sealed versions of an updated Motion
      3/10/2020 Josh Hasler              to Compel Discovery to Ray                                                0.5 $     100.00   $      50.00
                                         Provided filing support to BSF attorneys related to the Motions to
                                         Compel discovery directed to Ray, preparing final public and sealed
                                         versions of exhibits, coordinating secure file transfer, and providing
    3/11/2020 Josh Hasler                other assistance as required                                                1 $     100.00   $     100.00
SUBTOTAL                                                                                                           6.8 $     100.00   $     680.00

TOTAL                                                                                                             42.5                $   11,757.50
